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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                 AT LOUISVILLE


Connie Riggs,
1601 #2 Charterwoods Circle
                                           Case No.
                                                       3:08cv304 M
Fairborn, Ohio 45324                       Judge
Individually and On Behalf of All Others
Similarly Situated,                        CLASS ACTION

                             Plaintiff,    COMPLAINT FOR VIOLATION OF THE
                                           EMPLOYEE RETIREMENT INCOME
         vs.                               SECURITY ACT

HUMANA, INC.,                              JURY DEMAND ENDORSED HEREON
500 West Main Street
Louisville, Kentucky 40202                 Electronically Filed

         And

Michael B. McCallister
Chief Executive Officer
Humana, Inc.
500 West Main Street
Louisville, Kentucky 40202


        And

James H. Bloem
Chief Financial Officer
Humana, Inc.,
500 West Main Street
Louisville, Kentucky 40202

and DOES 1-20

                             Defendants.




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         Plaintiff Connie Riggs (“Plaintiff”), on behalf of the Humana Retirement and Savings

Plan and the Humana Puerto Rico 1165(e) Retirement Plan (collectively, the “Plans”) and a class

of similarly situated participants (“Participants”) in the Plans during the proposed Class Period

(defined below), alleges as follows:

                                          INTRODUCTION

         1.        Plaintiff brings this class action pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1109, 1132. The Class Period is from

September 1, 2007, through the present.

         2.        Plaintiff was employed with Humana Inc. (“Humana” or the “Company”) and was

a participant in the Humana Retirement and Savings Plan (“Plan”) during the Class Period,

during which time the Plans held interests in the Company’s common stock. Plaintiff’s

retirement investment portfolio in the Plan during the Class Period included Humana stock.

Plaintiff brings this action on behalf of all similarly situated participants in the Plans for the

benefit of participants and the Plans.

         3.        Defendants were “fiduciaries” of the Plans as that term is defined under ERISA

§ 3(21)(A), 29 U.S.C. § 1002(21)(A). Defendants breached their duties to Plaintiff and to the

other Participants and beneficiaries of the Plans in violation of ERISA §§ 404(a), 405, 29 U.S.C.

§§ 1104(a), 1105, particularly with regard to the Company’s heavy holdings of Humana stock.

During the Class Period, Defendants issued materially false and misleading statements regarding

the Company's business and financial results, concealed, distorted and misrepresented the

Company’s true financial condition, thereby precluding the Plans’ participants from properly

assessing the prudence of investing in Company stock, failed to prudently and loyally manage

Plans’ assets, failed to provide complete and accurate information to the Plans’ participants,




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violated ERISA’s prohibition against conflicts of interest, and failed to adequately monitor other

fiduciaries and to provide them with complete and accurate information.

         4.        As a result of Defendants’ breaches of fiduciary duty, participants of the Plans,

who invested their retirement savings in Company stock, suffered acute losses.

                                    JURISDICTION AND VENUE

         5.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 and ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1).

         6.        Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2) because the Plan was administered in this district, some or all of the fiduciary

breaches for which relief is sought occurred in this district, the Company’s corporate

headquarters is located in this district, and/or some Defendants reside or maintain their primary

residence in this district.

         7.        This district is an appropriate venue for this action because, on a recent Form

5500 annual filing with the Internal Revenue Service and Department of Labor, the address listed

for the sponsor of the Plan is in this district.

                                                PARTIES

         Plaintiff

         8.        Plaintiff Connie Riggs is a “participant,” within the meaning of § 3(7) of ERISA,

29 U.S.C. § 1102(7), in the Plan and held Humana shares in her retirement investment portfolio

during the Class Period.

         Defendants

         9.        Defendant Humana is a Delaware Corporation with its principal place of business

located at 500 West Main Street, Louisville, KY 40202. The Company provides various health




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and supplemental benefit plans for employer groups, government benefit programs, and

individuals in the United States.

         10.       Defendant Michael B. McCallister (“McCallister”) served, at all relevant times, as

the Company’s Chief Executive Officer.

         11.       Defendant James H. Bloem (“Bloem”) served, at all relevant times, as the

Company’s Chief Financial Officer.

         12.       Defendants McCallister and Bloem are collectively referred to herein as the

“Individual Defendants.”

         13.       Because of the Individual Defendants’ positions with the Company, they had

access to the adverse undisclosed information about the Company’s business, operations,

operational trends, financial statements and markets via access to internal corporate documents

(including the Company’s operating plans, budgets, forecasts and reports of actual operations

compared thereto), conversations and connections with other corporate officers and employees,

attendance at management and Board of Directors meetings and committees thereof and via

reports and other information provided to them in connection therewith.

         14.       On information and belief, the Company is the sponsor and administrator of the

Plan and further exercised discretionary authority with respect to management and

administration of the Plan and/or management and disposition of the Plan’s assets, and was

therefore a fiduciary of the Plan. The Company had, at all applicable times, effective control

over the activities of its directors, officers and employees, including the Individual Defendants,

including over their activities related to the Plans.




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         “Doe” Defendants

         15.       Without limitation, unknown “Doe” Defendants 1-20 include other individuals,

including members of the Plan fiduciary committees, as well as other Company officers,

directors and employees who are or were fiduciaries of the Plan within the meaning of ERISA §

3(21)(A), 29 U.S.C. § 1002(21)(A) during the Class Period. The identities of the John Doe

Defendants are currently unknown to Plaintiff; once their identities are ascertained, Plaintiff will

seek leave to join them to the instant action under their true names.

                                               THE PLANS

         16.       The Plans are “employee pension benefit plan[s],” as defined by § 3(2)(A) of

ERISA, 29 U.S.C. § 1002(2)(A) and, further, is “defined contribution plans” within the meaning

of ERISA § 3(34), 29 U.S.C. § 1002(34). The relief requested in this action is for the benefit of

the Plans and their participants and beneficiaries.

                                  CLASS ACTION ALLEGATIONS

         17.       Plaintiff brings this action as a class action pursuant to Rules 23(a), (b)(1), and/or

(b)(2) of the Federal Rules of Civil Procedure on behalf of herself and the following class of

persons similarly situated (the “Class”):

                   All persons who were participants in or beneficiaries of the Plans,
                   at any time between September 1, 2007 through the present (the
                   “Class Period”) and whose accounts with the Plans included
                   investments in the Company’s stock.

         18.       The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time,

and can only be ascertained through appropriate discovery, Plaintiff believes there are several

thousand members of the Class who participated in, or were beneficiaries of, the Plans during the

Class Period and whose accounts in the Plans included investment in the Company’s stock.




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         19.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class are:

                   (a)    whether Defendants each owed a fiduciary duty to the Plans, Plaintiff and

                          members of the Class;

                   (b)    whether Defendants breached their fiduciary duties to the Plans, Plaintiff

                          and members of the Class by failing to act prudently and solely in the

                          interests of the Plans and the Plans’ participants and beneficiaries;

                   (c)    whether Defendants violated ERISA; and

                   (d)    whether the Plans and members of the Class have sustained damages and,

                          if so, what is the proper measure of damages and/or remedy.

         20.       Plaintiff’s claims are typical of the claims of the members of the Class because

Plaintiff, the Plans and the other members of the Class each sustained damages arising out of the

Defendants’ wrongful conduct in violation of federal law as complained of herein.

         21.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class action, complex, and ERISA

litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Plans or the

Class.

         22.       Class action status in this ERISA action is warranted under Rule 23(b)(l)(B)

because prosecution of separate actions by the members of the Class would create a risk of

adjudications with respect to individual members of the Class which would, as a practical matter,

be dispositive of the interests of the other members not parties to the actions, or substantially

impair or impede their ability to protect their interests.




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         23.       Class action status is also warranted under the other subsections of Rule 23(b)

because: (i) prosecution of separate actions by the members of the Class would create a risk of

establishing incompatible standards of conduct for Defendants; and (ii) Defendants have acted or

refused to act on grounds generally applicable to the Class, thereby making appropriate final

injunctive, declaratory, or other appropriate equitable relief with respect to the Class as a whole.

                        DEFENDANTS’ FIDUCIARY DUTIES TO PLAINTIFF

         24.       On information and belief, during the Class Period, each one of the Defendants

had discretionary authority with respect to the management of the Plans and/or the management

or disposition of the Plans’ assets and/or exercised control or authority over Plan assets, and

therefore were fiduciaries of the Plan pursuant to § 3(21)(A) of ERISA, 29 U.S.C. §

1002(21)(A).

         25.       Throughout the Class Period, the Company’s responsibilities included, along with

its officers, directors and executives, oversight of and ultimate decision-making authority

respecting the management and administration of the Plans and assets of the Plans, as well as the

appointment, removal, and monitoring of other fiduciaries of the Plans that the Company

appointed or to whom it assigned fiduciary duty.

         26.       During the Class Period, upon information and belief, Defendants made direct and

indirect communications with the Plans’ participants including statements regarding investments

in Company stock, including, but were not limited to, SEC filings, annual reports, press releases,

and Plan documents (including Summary Plan Descriptions (“SPDs”) and Prospectuses

regarding Plan/participant holdings of Company stock), which included and/or reiterated these

statements. Upon information and belief, at all times during the Class Period, Defendants’ SEC




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filings were incorporated into and part of the Plans’ SPDs, Prospectuses and/or the Form S-8

registration statements. Defendants also acted as fiduciaries to the extent of this activity.

         27.       Further, Defendants, as the Plans’ fiduciaries, knew or should have known certain

basic facts about the characteristics and behavior of the Plans’ participants, well-recognized in

the 401(k) literature and the trade press, concerning investment in company stock, including that:

                   (e)     Employees tend to interpret an investment of employee benefit plan assets

                           in company stock as an endorsement of the company and its stock;

                   (f)     Out of loyalty, employees tend to invest in, and, where applicable, refrain

                           from divesting, company stock;

                   (g)     Employees tend to over-extrapolate from recent returns, expecting high

                           returns to continue or increase going forward; and

                   (h)     Employees tend not to change their investment option allocations in the

                           plan once made;

         28.       Even though Defendants knew or should have known these facts, and even though

Defendants knew of the high concentration of the Plans’ funds in Company stock, they still

disseminated inaccurate, incomplete and materially misleading statements Plans-wide regarding

the Company’s financial and operational health and future prospects, and/or did nothing to

correct such statements.

                         DEFENDANTS’ BREACHES OF FIDUCIARY DUTY

         29.       The Company provides various health and supplemental benefit plans for

employer groups, government benefit programs, and individuals.

         30.       During the Class Period, the Company overstated its earnings estimates and failed

to inform the Plans’ participants that the Company had mispriced the costs of its stand-alone




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Medicare Prescription Drug Plan (“PDP”) and that its PDP-related costs had increased

significantly.

         31.       On September 30, 2007, the Company filed a Form 8-K with the Securities and

Exchange Commission (“SEC”). The Form 8-K stated that the Company’s stand-alone PDPs

were “expected to positively impact fourth quarter 2007 and full-year 2008 results.” It further

stated that the Company “also projects EPS [expected earnings per share] for the year ending

December 31, 2008 (FY08E) to be in the range of $5.30 to $5.50, an increase of 10 to 16 percent

over FY07E EPS, or 16 to 22 percent versus the non-GAAP EPS for FY07E.”

         32.       On January 9, 2008, the Company filed another Form 8-K with the SEC. It

stated: “On January 9, 2008, officers of Humana Inc. will be meeting with investors and analysts

at an industry conference. During the meetings, the Company intends to … reaffirm the

Company’s earnings per share guidance for the full year 2008 of $5.30 to $5.50.” It further

stated: “gross sales for stand-alone Prescription Drug Plans are somewhat ahead of

expectations.”

         33.       On February 4, 2008, the Company issued a press release announcing its financial

results for the fourth quarter of 2007 and raising its earnings estimates for 2008. For the year of

2008, the Company stated that it expected earnings per share (“EPS”) in the range of $5.35 to

$5.55 per share. For the first quarter of 2008, the Company stated that it expected EPS in the

range of $0.80 to $0.85. On behalf of the Company, Defendant Bloem publicly attributed the

increased EPS to a decrease in low-income senior members. He further stated that “we do not

foresee any significant changes to the components of our cost trends as we move into 2008.”

         34.       Defendant Bloem reiterated the EPS range of $5.35 to $5.55 per share for the year

of 2008 at the UBS Global Healthcare Services Conference in New York on February 12, 2008.




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 Defendant McCallister likewise reiterated this range on February 28, 2008, at the Merrill Lynch

 Investor Meeting in Toronto, Canada.

          35.       At all relevant times, Defendants knew or should have known that Company stock

 was an imprudent investment for the Plans and the Plans’ participants. At the time they were

 making those public statements about the Company, Defendants knew that the Company was

 unable to properly calculate the prescription drug costs of its newly acquired members, that the

 Company’s costs associated with its PDPs had dramatically increased, and that as a result of the

 foregoing, Defendants’ projections lacked a reasonable basis and were false and misleading.

          36.       As a result of Defendants’ knowledge of and, at times, implication in creating and

 maintaining public misconceptions concerning the true financial health of the Company, any

 generalized warnings of market and diversification risks that Defendants made to the Plans’

 participants regarding the Plans’ investment in the Company’s stock did not effectively inform

 the Plans’ participants of the past, immediate, and future dangers of investing in Company stock.

          37.       Defendants also failed to conduct an appropriate investigation into whether

 Company stock was a prudent investment for the Plans and, in connection therewith, failed to

 provide the Plans’ participants with information regarding the Company’s deep-rooted problems

 so that participants could make informed decisions regarding whether to divest their Company

 stock in the Plans into alternatives provided in the related 401(k) plans.

          38.       An adequate investigation by Defendants would have revealed to a reasonable

 fiduciary that investment by the Plans in Company stock, under these circumstances, was clearly

 imprudent. A prudent fiduciary acting under similar circumstances would have acted to protect

 participants against unnecessary losses, and would have made different investment decisions.




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          39.       Because Defendants knew or should have known that Company stock was not a

 prudent investment option for the Plans, they had an obligation to protect the Plans and their

 participants from unreasonable and entirely predictable losses incurred as a result of the Plans’

 investment in Company stock.

          40.       Defendants had available to them several different options for satisfying this duty,

 including: making appropriate public disclosures as necessary; divesting the Plans of Company

 stock; consulting independent fiduciaries regarding appropriate measures to take in order to

 prudently and loyally serve the participants of the Plans; and/or resigning as fiduciaries of the

 Plans to the extent that as a result of their employment by the Company they could not loyally

 serve the Plans and their participants in connection with the Plans’ acquisition and holding of

 Company stock.

          41.       Despite the availability of these and other options, Defendants failed to take any

 action to protect participants from losses resulting from the Plans’ investment in Company stock.

 In fact, the Defendants continued to allow heavy investment of the Plans’ assets in Company

 stock even as the Company’s problems came to light.

          42.       By misrepresenting the Company’s business, the defendants presented a

 misleading picture of the Company’s business and prospects. Thus, instead of truthfully

 disclosing during the Class Period that the Company's business was not as healthy as

 represented, Defendants falsely overstated its EPS, and falsely concealed the business problems

 the Company was experiencing.

          43.       These omissions caused and maintained the artificial inflation in the Company's

 stock price throughout the Class Period.




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          44.       Defendants’ false and misleading statements caused Company stock to trade at

 artificially inflated levels throughout the Class Period.

          45.       On March 12, 2008, the Company issued a press release entitled “Humana

 Revises Earnings Guidance.” Therein, the Company issued a revised EPS of $0.44 to $0.46 for

 the first quarter of 2008, instead of its previous EPS of $0.80 to $0.85; and it revised its EPS for

 the year to be $4.00 to $4.25, instead of its previous EPS of $5.35 to $5.55. The Company

 attributed its revised projections to “actuarial assumptions versus experience,” “new member

 experience,” and “member mix.” Following this announcement, shares of Company stock

 dropped by $6.50 per share.

                                                 COUNT I

                     Failure to Prudently and Loyally Manage the Plans’ Assets
                (Breaches of Fiduciary Duties in Violation of ERISA § 404 and § 405)

          46.       Plaintiff incorporates the allegations contained in the previous paragraphs of this

 Complaint as if fully set forth herein.

          47.       At all relevant times, as alleged above, all Defendants were fiduciaries within the

 meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).

          48.       Defendants were responsible for ensuring that investment options made available

 to participants under the Plans were prudent. Defendants were responsible for ensuring that

 assets within the plans were prudently invested. Defendants were responsible for ensuring that

 all investments in the Company stock in the Plans were prudent and that such investment was

 consistent with the purpose of the Plans. Defendants are liable for losses incurred as a result of

 such investments being imprudent.

          49.       Defendants breached their duties to prudently and loyally manage the Plans’

 assets. During the Class Period, Defendants knew or should have known that the Company stock




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 was not a suitable and appropriate investment for the Plans as described herein. Investment in

 the Company stock during the Class Period did not serve the Plans’ purpose of helping

 participants save for retirement, and in fact caused significant losses/depreciation to participants’

 retirement savings. During the Class Period, despite their knowledge of the imprudence of the

 investment, Defendants failed to take any meaningful steps to protect the Plans’ participants

 from the inevitable losses that they knew would ensue from investment in Company stock.

 Moreover, Defendants had a duty to put in place a financial strategy to address the volatility of

 single equity investments. Defendants failed to implement such a strategy.

          50.       Defendants also breached their co-fiduciary obligations by, among their other

 failures: knowingly participating in, or knowingly undertaking to conceal, the other Defendants

 failure to disclose crucial information regarding the Company’s operations, business practices,

 and artificial inflation of the price of the Company stock. Defendants knew or should have

 known of such breaches by the Plans’ fiduciaries, yet made no effort to remedy the same.

          51.       As a direct and proximate result of the breaches of fiduciary duties alleged herein,

 the Plan, and indirectly, Plaintiff and the Plans’ other participants and Beneficiaries, lost a

 significant portion of their retirement investment.

          52.       Pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a) and ERISA § 409, 29 U.S.C. §

 1109(a), Defendants in this Count are liable to restore the losses to the Plans caused by their

 breaches of fiduciary duties.




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                                                COUNT II

                     Failure to Provide Complete and Accurate Information
                 to the Plans’ Participants and Beneficiaries by all Defendants
         (Breaches of Fiduciary Duties in Violation of ERISA §§ 404 and 405 of ERISA)


          53.       Plaintiff incorporates the allegations contained in the previous paragraphs of this

 Complaint as if fully set forth herein.

          54.       At all relevant times, Defendants were fiduciaries of the Plans within the meaning

 of ERISA § 3(21)(A), 29 U.S.C.§ 1002(21)(A). Consequently, they were bound by the duties of

 loyalty, exclusive purpose and prudence.

          55.       At all relevant times, the scope of Defendants’ fiduciary responsibilities included

 making communications and material disclosures related to the Plans. As part of these

 obligations, Defendants had a duty to provide the Plans’ participants with information they

 possessed that they knew or should have known would have an impact on the Plans.

          56.       The duty of loyalty under ERISA requires fiduciaries to speak truthfully to

 participants, not to mislead them regarding the plan or plan assets, and to disclose information

 that participants need in order to exercise their rights and interests under the Plans. This duty to

 inform participants includes an obligation to provide participants and beneficiaries of the Plans

 with complete and accurate information, and to refrain from providing inaccurate or misleading

 information, or concealing material information, regarding the Plans’ investment options such

 that participants can make informed decisions with regard to the prudence of whether or not to

 keep or divest, to the extent possible, their Company stock investments in the Plans. This duty

 applies to all of the Plans’ investment options, including investment in Company stock.




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          57.       Defendants knew that investment in Company stock carried with it an inherently

 high degree of risk. This inherent risk made the Defendants’ duty to provide complete and

 accurate information particularly important.

          58.       Defendants breached their duty to inform participants by issuing false and

 misleading statements through SEC filings and press releases regarding the value of Company

 stock and the financial health of the Company, and by failing to provide complete and accurate

 information regarding the Company’s increased costs and inability to calculate costs, their

 concealment of the same and the consequent artificial inflation of the value of the Company

 stock and, generally, by conveying inaccurate information regarding the Company’s future

 outlook. In addition, Defendants failed to disclose any information to the Plans’ participants

 regarding the Company’s deceitful business practices and how those practices adversely affected

 the value of Company stock as a prudent option under the Plans. These failures were particularly

 devastating to the Plans and their participants; losses in this investment had an enormous impact

 on the value of participants’ retirement assets, as a significant percentage of the Plans’ assets

 were invested in Company stock.

          59.       These actions and failures to act were uniform and caused the Plans, and/or the

 participants and beneficiaries of the Plans, to continue to make and maintain substantial

 investments in Company stock in the Plans at a time when these Defendants knew or should have

 known that the Plans’ participants and beneficiaries (and non-defendant fiduciaries) did not have

 complete and accurate information concerning their investments.

          60.       Defendants are also liable as co-fiduciaries because (1) they knowingly

 participated in and knowingly undertook to conceal the failure of the other fiduciaries to provide

 complete and accurate information regarding the Company stock, despite knowing of their




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 breaches; (2) they enabled such conduct as a result of their own failure to satisfy their fiduciary

 duties; and (3) they had knowledge of or should have known of the other fiduciaries’ failures to

 satisfy their duty to provide only complete and accurate information to participants, yet did not

 make any effort to remedy the breaches.

          61.       Where a breach of fiduciary duty consists of, or includes, misrepresentations and

 omissions material to a decision by a reasonable participant of the Plans that results in harm to

 the participant, the participant is presumed as a matter of law to have relied upon such

 misrepresentations and omissions to his detriment. Here, the above-described statements, acts

 and omissions of the Defendants in this Complaint constituted misrepresentations and omissions

 that were fundamentally deceptive concerning the prudence of investments in the Company stock

 and were material to any reasonable person’s decision about whether or not to maintain any part

 of their invested assets of the Plans in the Company stock during the Class Period. Plaintiff and

 the other Class members are therefore presumed to have relied to their detriment on the

 misleading statements, acts, and omissions of the Defendants as described herein.

          62.       As a direct and legal consequence of these Defendants’ breaches of fiduciary

 duty, the Plans suffered millions of dollars in losses. If the Defendants had discharged their

 fiduciary duties to prudently manage and invest the Plans’ assets, the losses suffered by the Plans

 would have been minimized or avoided. Therefore, as a direct and proximate result of the

 breaches of fiduciary duties alleged herein, the Plans, and indirectly Plaintiff and the Plans’ other

 participants and beneficiaries, lost a significant portion of their retirement investments.

          63.       Pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a) and ERISA § 409, 29 U.S.C. §

 1109(a), Defendants in this Count are liable to restore the losses to the Plans caused by their

 breaches of fiduciary duties alleged in this Count.




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                                                COUNT III

                           Breach of Duty to Avoid Conflicts of Interest
                (Breaches of Fiduciary Duties in Violation of ERISA §§ 404 and 405)

          64.       Plaintiff incorporates the allegations contained in the previous paragraphs of this

 Complaint as if fully set forth herein.

          65.       At all relevant times, as alleged above, Defendants were fiduciaries within the

 meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A). Consequently, they were bound by the

 duties of loyalty, exclusive purpose and prudence.

          66.       ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), imposes on a plan fiduciary a

 duty of loyalty, that is, a duty to discharge his duties with respect to a plan solely in the interest

 of the participants and beneficiaries and for the exclusive purpose of providing benefits to

 participants and beneficiaries.

          67.       Through the conduct alleged herein, Defendants put themselves in the inherently

 conflicted position of having to choose between their duties to loyally serve the interests of Plans

 participants and the interests of others, including themselves. Through the conduct alleged

 herein, Defendants placed the interest of the Company before the interests of the Plans’

 participants, in violation of their fiduciary duties under ERISA.

          68.       Defendants breached their duty to avoid conflicts of interest and to promptly

 resolve them by, inter alia; failing to timely engage independent fiduciaries who could make

 independent judgments concerning the Plan’s investments in Company’s own securities, by

 failing to notify federal agencies of the facts that made Company stock an imprudent investment

 for the Plans, by failing to take other steps to ensure that Plan participants’ interests were loyally

 served, and by otherwise placing their own and the Company’s interests above the interests of

 the participants with respect to the Plans’ investment in the Company’s securities.




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          69.       As a direct and legal consequence of Defendants’ breaches of fiduciary duty, the

 Plan suffered millions of dollars in losses. If Defendants had discharged their fiduciary duties to

 prudently manage and invest the Plans’ assets, the losses suffered by the Plans would have been

 minimized or avoided. Therefore, as a direct and proximate result of the breaches of fiduciary

 duties alleged herein, the Plans, and indirectly Plaintiff and the Plans’ other participants and

 beneficiaries, lost a significant portion of their retirement investments.

          70.       Pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a), and ERISA § 409, 29 U.S.C. §

 1109(a), Defendants in this Count are liable to restore the losses to the Plans caused by their

 breaches of fiduciary duties alleged in this Count

                                                COUNT IV

                           Failure to Adequately Monitor Other Fiduciaries and
                                 Provide Them with Accurate Information
                         (Breaches of Fiduciary Duties in Violation of ERISA § 404)

          71.       Plaintiff incorporates the allegations contained in the previous paragraphs of this

 Complaint as if fully set forth herein.

          72.       At all relevant times, as alleged above, Defendants were fiduciaries within the

 meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).

          73.       At all relevant times, as alleged above, the scope of the fiduciary responsibility of

 Defendants included the responsibility to appoint, evaluate, and monitor other fiduciaries.

          74.       The duty to monitor entails both giving information to and reviewing the actions

 of the monitored fiduciaries. In this case, that means that the monitoring fiduciaries, Humana

 and the Individual Defendants, had the duty to:

                    (1)      Ensure that the monitored fiduciaries possess the needed credentials and

                    experience, or use qualified advisors and service providers to fulfill their duties.




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                    They must be knowledgeable about the operations of the Plans, the goals of the

                    Plan, and the behavior of the Plans’ participants;

                    (2)    Ensure that the monitored fiduciaries are provided with adequate financial

                    resources to do their job;

                    (3)    Ensure that the monitored fiduciaries have adequate information to do

                    their job of overseeing the Plans’ investments;

                    (4)    Ensure that the monitored fiduciaries have ready access to outside,

                    impartial advisors when needed;

                    (5)    Ensure that the monitored fiduciaries maintain adequate records of the

                    information on which they base their decisions and analysis with respect to the

                    Plans’ investment options; and

                    (6)    Ensure that the monitored fiduciaries report regularly to the Company

                    and/or the Director Defendants. The Company and/or Director Defendants must

                    then review, understand, and approve the conduct of the hands-on fiduciaries.

          75.       A monitoring fiduciary must ensure that the monitored fiduciaries are performing

 their fiduciary obligations, including those with respect to the investment of a plan’s assets, and

 must take prompt and effective action to protect a plan and its participants when they arc not. In

 addition, a monitoring fiduciary must provide the monitored fiduciaries with complete and

 accurate information in their possession that they know or reasonably should know that the

 monitored fiduciaries must have in order to prudently manage a plan and a plan’s assets.

          76.       Defendants breached their fiduciary monitoring duties by, among other things, (a)

 failing to ensure that the monitored fiduciaries had access to knowledge about the Company’s

 business problems alleged above, which made Company stock an imprudent retirement




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 investment, and (b) failing to ensure that the monitored fiduciaries completely appreciated the

 huge risk of significant investment of the retirement savings of rank and file employees in an

 undiversified employer stock fund that was made up primarily of Company stock, an investment

 that was imprudent and subject to inevitable and significant depreciation, especially where, as

 here, the stock price was artificially inflated by Defendants’ own wrongful conduct.

          77.       Defendants knew or should have known that the fiduciaries they were responsible

 for monitoring were imprudently continuing to invest the assets of the Plans in Company stock

 when it no longer was prudent to do so. Despite this knowledge, Defendants failed to take action

 to protect the Plans, and concomitantly the Plans’ participants, from the consequences of these

 fiduciaries’ failures.

          78.       In addition, Defendants, in connection with their monitoring and oversight duties,

 were required to disclose to the monitored fiduciaries accurate information about the financial

 condition of the Company that they knew or should have known that these Defendants needed to

 make sufficiently informed decisions. By remaining silent and continuing to conceal such

 information from the other fiduciaries, Defendants breached their monitoring duties under the

 Plans and ERISA.

          79.       Defendants are liable as co-fiduciaries because they knowingly participated in the

 each other’s fiduciary breaches as well as those by the monitored fiduciaries, they enabled the

 breaches by these Defendants, and they failed to make any effort to remedy these breaches,

 despite having knowledge of them.

          80.       As a direct and proximate result of the breaches of fiduciary duties alleged herein,

 the Plan, and indirectly the Plaintiff and the Plans’ other participants and beneficiaries, lost a

 significant portion of their retirement investments.




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          81.       Pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a) and ERISA § 409, 29 U.S.C. §

 1109(a), Defendants in this Count are liable to restore the losses to the Plans caused by their

 breaches of fiduciary duties alleged in this Count.

                                         PRAYER FOR RELIEF

 WHEREFORE, Plaintiff prays for:

          A.        A Declaration that the Defendants, and each of them, have breached their ERISA

 fiduciary duties to the participants;

          B.        A Declaration that the Defendants, collectively and separately, are not entitled to

 the protection of ERISA § 404(c)(1)(B), 29 U.S.C. § 1104(c)(1)(B);

          C.        An Order compelling the Defendants to make good to the Plans all losses to the

 Plans resulting from Defendants’ breaches of their fiduciary duties, including losses to the Plans

 resulting from imprudent investment of the Plans’ assets, and to restore to the Plans all profits

 the Defendants made through use of the Plans’ assets, and to restore to the Plans all profits which

 the participants would have made if the Defendants had fulfilled their fiduciary obligations;

          D.        An Order enjoining Defendants from further breaching their fiduciary duties

 under ERISA;

          E.        Imposition of a Constructive Trust on any amounts by which any Defendant was

 unjustly enriched at the expense of the Plans as the result of breaches of fiduciary duty;

          F.        Actual damages in the amount of any losses the Plans suffered, to be allocated

 among the Plans participants’ individual accounts in proportion to the accounts’ losses;

          G.        An Order that Defendants allocate the Plans’ recoveries to the accounts of all

 participants who had any portion of their account balances invested in the common stock of the




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 Company maintained by the Plans in proportion to the accounts’ losses attributable to the decline

 in the stock price of the Company;

          H.        An Order awarding costs pursuant to 29 U.S.C. § 1132(g);

          I.        An Order awarding attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the

 common fund doctrine; and

          J.        An Order for equitable restitution and other appropriate equitable monetary relief

 against the Defendants.

                                        JURY TRIAL DEMAND

          Plaintiff demands a trial by jury.



 DATED: June 9, 2008                              s/David M. Cook
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